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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       Case No.: 3:19-CR-364-ECM
                                            )
NAYEF AMJAD QASHOU                          )


                   NOTICE OF EXTENDED SENTENCING HEARING

       COMES NOW the Defendant NAYEF AMJAD QASHOU, by and through undersigned

counsel, Sandi Y. Irwin, and notifies the Court of an extended Sentencing Hearing pursuant to the

Court’s Order, Document No. 41, issued February 12, 2020.

       Dated this 12th day of June, 2020.


                                            Respectfully submitted,

                                            s/ Sandi Y. Irwin
                                            SANDI Y. IRWIN
                                            Bar No.: CA292946
                                            Federal Defenders
                                            Middle District of Alabama
                                            817 South Court Street
                                            Montgomery, AL 36104
                                            TEL: (334) 834-2099
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       Case 3:19-cr-00364-ECM-WC Document 46 Filed 06/12/20 Page 2 of 2



                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF ALABAMA
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UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Case No.: 3:19-CR-364-ECM
                                             )
NAYEF AMJAD QASHOU                           )


                              CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification to all counsel of record.

                                             Respectfully submitted,

                                             s/ Sandi Y. Irwin
                                             SANDI Y. IRWIN
                                             Bar No.: CA292946
                                             Federal Defenders
                                             Middle District of Alabama
                                             817 South Court Street
                                             Montgomery, AL 36104
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